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                    IN THE UNITED STATES DISTRICT COURT FOR THE


                               EASTERN DISTRICT OF VIRGINIA                ^ .o. cu

                                        Alexandria Division
                                                             im u!.R             ^
 UNITED STATES OF AMERICA

                                                    No. l:23-mj-67
            V.




 CONOR BRIAN FITZPATRICK,


             Defendant.



                 CONSENT MOTION TO EXTEND TIME FOR INDICTMENT


       The United States of America, through undersigned counsel, with the express consent of

the defendant, and the defendant's counsel, respectfully moves the Court to extend the time to

indict this case through and including May 15, 2023. In support thereof, the parties state as

follows:


       1.        The defendant was arrested on a federal charge on March 15, 2023. The

defendant made his initial appearance in the Southern District ofNew York on March 15, 2023.

The defendant was released on conditions and ordered to appear in the Eastern District of

Virginia on March 24, 2023. On March 24, 2023, the defendant made his initial appearance in

the Eastern District of Virginia and was continued on conditions of release.

       2.        The Speedy Trial Act requires that the defendant be indicted within thirty days of

the defendant's arrest after subtracting all excludable time. The indictment deadline is April 15,

2023. The parties jointly request an extension of approximately 30 days for an extension ofthe

time to indict. Extending this time period for approximately 30 days would be in the best

interests ofjustice in that it would give the defense counsel an opportunity to meet with the
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defendant, to review discovery, and to discuss a possible pre-indictment plea resolution of the

case.



        3.     The defendant hereby agrees to waive any objections under the Speedy Trial Act

and to extend the government's time to file an indictment in this case through and including May

15, 2023. The waiver is made knowingly, intentionally, and voluntarily by the defendant, and

with full knowledge of the provisions of the Speedy Trial Act, Title 18, United States Code,

Sections 3161, et seq., and with the advice and consent of counsel.

        4.     The defendant expressly understands that his waiver is not predicated upon any

promises, agreements, or understandings of any kind between the government and the defense in

this case, and that nothing contained herein shall be construed to preclude the government from

proceeding against the defendant during or after the time period covered by this waiver.

        WHEREFORE,the parties request that the time to indict this case be extended to and

including May 15, 2023, and that the delay resulting from this extension be excluded in

computing the time within which an indictment must be filed pursuant to Title 18, United States

Code, Section 3161(h).

                                             Respectfully submitted,

                                             Jessica D. Aber
                                             United States At



                                             Carina ArCuenar
                                             Assistant United States Attorney
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        Defendant's Signature: I hereby agree that I have consulted with my attorney and fully

understand all my rights with respect to a speedy trial, including my right to be charged by

indictment within 30 days of arrest, after subtracting all excludable time, as required by Title 18,

United States Code, Section 3161(b). I have read this motion for an extension oftime to be

charged by indictment, and carefully reviewed every part ofit with my attorney. I understand

this motion and voluntarily agree to it.


Date:
                                      Conor Brian Fitzpatrick
                                      Defendant



        Defense Counsel Signature: I am counsel for the defendant in this case. I have fiilly

explained to the defendant the defendant's right to be charged by indictment within 30 days of

arrest. Specifically, I have reviewed the terms and conditions of Title 18, United States Code,

Section 3161(b), and I have fully explained to the defendant the provisions that may apply in this

case. To my knowledge,the defendant's decision to agree to an extension oftime to be charged

by indictment is an informed and voluntary one.


Date: _3
                                      Counsellor the Defendant



Date:              25
                                      Nifia Gmsb^,Esq.
                                      Counsel for the Defendani
